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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
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				Go to Today february, 2017
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				7feb10:00 am- 4:00 pmOral Arguments
							Event DetailsTuesday, February 7, 2017
10:00 AM


	S16G1337 City of Richmond Hill et al. v. Maia

2:00 PM

	S16G1162 Williams v. The State
	S17A0405 The Stuttering Foundation of America, Inc. v. Glynn County et al.
	S17A0352 [...]
							
							
									Event Details
									Tuesday, February 7, 2017
10:00 AM

S16G1337 City of Richmond Hill et al. v. Maia

2:00 PM

S16G1162 Williams v. The State
S17A0405 The Stuttering Foundation of America, Inc. v. Glynn County et al.
S17A0352 Shaw v. The State

&nbsp;


								
							
						
						
							
							
								
									
																
										Time(Tuesday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

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